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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


ROTHSCHILD MOBILE IMAGING             §
INNOVATIONS, LLC                      §
                                      §
                       Plaintiff,     §           Case 1:14-cv-00617-SLR
                                      §
v.                                    §           JURY TRIAL DEMANDED
                                      §
MITEK SYSTEMS, INC., JPMORGAN         §
CHASE & Co. and JPMORGAN              §
CHASE BANK, N.A.                      §
                                      §
                       Defendants.    §
                                      §
ROTHSCHILD MOBILE IMAGING             §
INNOVATIONS, LLC                      §
                                      §
                       Plaintiff,     §           Case 1:14-cv-01142-SLR
                                      §
v.                                    §           JURY TRIAL DEMANDED
                                      §
BANK OF AMERICA CORPORATION,          §
BANK OF AMERICA, N.A., AND            §
MITEK SYSTEMS, INC.                   §
                                      §
                       Defendants.    §
                                      §
ROTHSCHILD MOBILE IMAGING             §
INNOVATIONS, LLC                      §
                                      §
                       Plaintiff,     §           Case 1:14-cv-01143-SLR
                                      §
v.                                    §           JURY TRIAL DEMANDED
                                      §
CITIGROUP INC., CITIBANK, N.A. AND    §
MITEK SYSTEMS, INC.                   §
                                      §
                       Defendants.    §
                                      §




DECLARATION OF ANDREW M. HOWARD IN SUPPORT
OF ROTHSCHILD MOBILE IMAGING INNOVATIONS, LLC’S
RESPONSE TO CITIGROUP INC’S MOTION TO DISMISS                              Page 1
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                                                 §
ROTHSCHILD MOBILE IMAGING                        §
INNOVATIONS, LLC                                 §
                                                 §
                              Plaintiff,         §          Case 1:14-cv-01144-SLR
                                                 §
v.                                               §          JURY TRIAL DEMANDED
                                                 §
WELLS FARGO & COMPANY,                           §
WELLS FARGO BANK, N.A. and                       §
MITEK SYSTEMS, INC.                              §
                                                 §
                              Defendants.        §
                                                 §
                                                 §


             DECLARATION OF ANDREW M. HOWARD IN SUPPORT OF
                PLAINTIFF RMII’S OPPOSITION TO DEFENDANTS’
                  MOTIONS TO SEVER, STAY, AND TRANSFER


I, Andrew M. Howard, hereby declare as follows:

       1.      I am an attorney with Shore Chan DePumpo LLP, and counsel of record for

Rothschild Mobile Imaging Innovations, LLC, (“RMII”) in the above-captioned action. I am

over the age of 21 years, and am competent to make this declaration. All of the statements set

forth herein are true and correct and are based on my personal knowledge.

       2.      Attached hereto as Exhibit A is a true and correct copy of a webpage entitled

Banks Make Smartphone Connection downloaded from

http://online.wsj.com/articles/SB10001424127887323511804578298192585478794 on

December 6, 2014.

       3.      Attached hereto as Exhibit B is a true and correct copy of a webpage entitled

Mobile users deposit more than $40B in checks via smartphones, tablets: Mitek, downloaded

from https://www.mobilecommercedaily.com/mobile-users-deposit-over-40-billion-in-checks-

via-mobile-mitek on December 6, 2014.



DECLARATION OF ANDREW M. HOWARD IN SUPPORT
OF PLAINTIFF RMII’S OPPOSITION TO DEFENDANTS’
MOTIONS TO SEVER, STAY, AND TRANSFER                                                      Page 2
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       4.     Attached hereto as Exhibit C is a true and correct copy of a webpage entitled

Why Mitek? Camera as a Keyboard, downloaded from http://www.miteksystems.com/print/why-

mitek on December 4, 2014.

       5.     Attached hereto as Exhibit D is a true and correct copy of a webpage entitled

Mitek Mobile Deposit Integration Options, downloaded from

http://www.miteksystems.com/solutions/banking/mobile-deposit/integration-options on

December 6, 2014.

       6.     Attached hereto as Exhibit E is a true and correct copy of a webpage entitled

Mitek Mobile Imaging Platform, downloaded from

https://developers.miteksystems.com/platform on December 6, 2014.

       7.     Attached hereto as Exhibit F is a true and correct copy of a webpage entitled The

Secrets to Chase’s Mobile Success: Exclusive Q&A With SVP Ravi Acharya, downloaded from

http://www.banktech.com/channels/the-secrets-to-chases-mobile-success-exclusive-qanda-with-

svp-ravi-acharya/d/d-id/1295205? on December 6, 2014.

       8.     Attached hereto as Exhibit G is a true and correct copy of a webpage entitled In a

Major Endorsement, Chase Adopts Mobile-Capture Technology from Mitek, downloaded from

http://digitaltransactions.net/news/story/In-a-Major-Endorsement_-Chase-Adopts-Mobile-... on

December 2, 2014.

       9.     Attached hereto as Exhibit H is a true and correct copy of a webpage entitled

Chase Taps Mitek’s Image Innovation, downloaded from

http://www.americanbanker.com/bulletins/-1033280-1.html on December 6, 2014.

       10.    Attached hereto as Exhibit I is a true and correct copy of a webpage entitled Bank

of America: Mobile Check Deposit Feature Expected to Launch Q2 2012 downloaded from


DECLARATION OF ANDREW M. HOWARD IN SUPPORT
OF PLAINTIFF RMII’S OPPOSITION TO DEFENDANTS’
MOTIONS TO SEVER, STAY, AND TRANSFER                                                    Page 3
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http://www.mybanktracker.com/news/2011/03/07/bank-america-milble-check-deposit-feature-

expected-launch-q2-2012/ on December 6, 2014.

       11.    Attached hereto as Exhibit J is a true and correct copy of a webpage entitled

Mitek Signs BofA, Capital One for its Mobile Check-Deposit Technology, downloaded from

http://www.paymentssource.com/news/mitek-signs-bofa-capital-one-mobile-deposit-3006174-

1.html on December 6, 2014.

       12.    Attached hereto as Exhibit K is a true and correct copy of a webpage entitled

Bank of America Fumbles with New Deposit App, downloaded from

http://wallstcheatsheet.com/stocks/bank-of-america-fumbles-with-new-deposit-app.html/ on

December 6, 2014.

       13.    Attached hereto as Exhibit L is a true and correct copy of a webpage entitled

Remote Deposit Goes Mobile, downloaded from

http://www.treasuryandrisk.com/2012/06/18/remote-deposit-goes-mobile on December 6, 2014.

       14.    Attached hereto as Exhibit M is a true and correct copy of a webpage entitled

Mobile Check Deposit Developer, downloaded from

https://www.linkedin.com/jobs2/view/9862078 on December 6, 2014.

       15.    Attached hereto as Exhibit N is a true and correct copy of a webpage entitled

Remote deposit capture is tipping point to mobile banking profitability: panelist, downloaded

from http://www.mobilecommercedaily.com/remote-deposit-capture-tipping-point-to-mobile-

banking-profitability-panelist on December 6, 2014.

       16.    Attached hereto as Exhibit O is a true and correct copy of a webpage entitled

Citibank Launches Mobile Check Deposit Nationwide, downloaded from




DECLARATION OF ANDREW M. HOWARD IN SUPPORT
OF PLAINTIFF RMII’S OPPOSITION TO DEFENDANTS’
MOTIONS TO SEVER, STAY, AND TRANSFER                                                     Page 4
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http://www.mybanktracker.com/news/2012/02/24/citibank-launches-mobile-check-deposit-

nationwide/ on December 6, 2014.

       17.    Attached hereto as Exhibit P is a true and correct copy of a webpage entitled

Farzaneh Poorjabar, downloaded from https://www.linkedin.com/in/farzanehpoorjabar on

December 6, 2014.

       18.    Attached hereto as Exhibit Q is a true and correct copy of a webpage entitled

New York State Senior Front End Developer jobs at Citi, downloaded from

http://jobs.citi.com/new-york-state/marketing/jobid5972546-senior-front-end-developer-jobs on

December 6, 2014.

       19.    Attached hereto as Exhibit R is a true and correct copy of a webpage entitled

Wells Fargo rolls out mobile deposit, downloaded from

http://www.bizjournals.com/sanfrancisco/blog/2012/06/wells-fargo-mobile-deposit-chase-

bank.html?page=all on December 6, 2014.

       20.    Attached hereto as Exhibit S is a true and correct copy of a webpage entitled

Wells Fargo Mobile® Banking Turns 5, downloaded from

https://www.wellsfargo.com/about/press/2012/20120724_WellsFargoMobileBanking/ on

December 6, 2014.

       21.    Attached hereto as Exhibit T is a true and correct copy of a webpage entitled

Wells Fargo Begins Rollout of Mobile Check Deposit, downloaded from

http://www.mybanktracker.com/news/2012/05/31/wells-fargo-begins-rollout-mobile-check-

deposit/ on December 6, 2014.

       22.    Attached hereto as Exhibit U is a true and correct copy of an email between

Andrew M. Howard and David Gann dated November 18-19, 2014.


DECLARATION OF ANDREW M. HOWARD IN SUPPORT
OF PLAINTIFF RMII’S OPPOSITION TO DEFENDANTS’
MOTIONS TO SEVER, STAY, AND TRANSFER                                                    Page 5
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       23.    Attached hereto as Exhibit V is a true and correct copy of Delaware Secretary of

State records for Mitek and each of the Bank Defendants downloaded from

https://delecorp.delaware.gov/tin/controller dated December 4, 2014.



   I declare under penalty of perjury that the foregoing is true and correct this 8th day of

December, 2014, in Dallas, Texas.


                                             /s/Andrew M. Howard
                                             Andrew M. Howard




DECLARATION OF ANDREW M. HOWARD IN SUPPORT
OF PLAINTIFF RMII’S OPPOSITION TO DEFENDANTS’
MOTIONS TO SEVER, STAY, AND TRANSFER                                                           Page 6
